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 9

10                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,       §
                                     §
13        Plaintiff,                 §
                                     §
14   VS.                             §         CASE NO. 2:12-CV-02334
                                     §
15   L. RICHARD SHEARER, et al.,     §
                                     §
16        Defendants.                §
     ________________________________§
17
              DECLARATION OF JOE ALFRED IZEN, JR. IN SUPPORT OF
18     DEFENDANT SWENSON TRUSTEE'S RESPONSE TO GOVERNMENT'S MOTION TO
        EXCUSE THE UNITED STATES FROM SANCTIONS FOR FAILURE TO COMPLY
19    WITH RULE 26(a) AND IN FURTHER SUPPORT OF EXCLUSION OF EVIDENCE
               AND OTHER RELIEF UNDER F.R.C.P. RULES 26 AND 37
20
     STATE OF TEXAS   )
21                    )
     COUNTY OF HARRIS )
22
          My name is Joe Alfred Izen, Jr.        I am over the age of eigh-
23
     teen years and am fully competent to make this Declaration.             I am
24
     a counsel of record and attorney for Defendant Swenson Trustee in
25
     this case and have acted in that capacity since the entry by this
26
     Court of an order granting me leave to appear as counsel pro hac
27
     vice in this case.
28


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 1          1.   As attorney for Defendant Swenson Trustee I have become

 2   familiar with and have personal knowledge of the content of all

 3   of the pleadings and papers filed of record in this case with the

 4   District Clerk by the parties as well as the various orders of

 5   the   Court    entered    on   the   docket.   I   further     have    personal

 6   knowledge of the content of all of the discovery papers including

 7   written discovery requests and responses or answers served by the

 8   parties.

 9          2.    The Government has filed a Motion requesting entry by

10   this Court of an order excusing the Government's compliance with

11   the otherwise mandatory disclosure requirements of FRCP Rule 26.

12          3.     On the face of its Motion to Excuse the Government

13   concedes that it did not comply with Rule 26 voluntary disclo-

14   sures.      The Government then claims that it provided all Rule 26

15   required information in its answers and responses to Defendant

16   Swenson Trustee's First Set of Written Interrogatories and First

17   Requests for Production.

18          4.     The Government submitted the Declaration of Chelsea

19   Bissell with attached Exhibits claiming the Exhibits proved that

20   the   Government    had   provided    documents    requested    in    Defendant

21   Swenson Trustee's request for production on the following dates:

22   July 8, 2014 and September 25, 2014.           Bissell Exhibit 2 contains

23   a letter purportedly dated either July 1 or July 8, 2024 from

24   then DOJ attorney Jennings stating the following:

25          Dear Mr. Izen:

26                 Enclosed please find the following documents:

27          1. UNITED STATES' RESPONSE TO REQUEST FOR PRODUCTION -
            FIRST SET BY STANLEY SWENSON AS TRUSTEE
28


                                             2
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 1        2. UNITED STATES' RESPONSE TO INTERROGATORIES - FIRST
          SET BY STANLEY SWENSON
 2
          3. PRIVILEGE LOG
 3
          4. CERTIFICATE OF SERVICE
 4
          You previously received the documents referred to in
 5        the discovery response enclosed, a CD-ROM containing
          pdf files, Bates IRS00001 - IRS04354.
 6
          If you have any questions regarding the foregoing,
 7        please contact me at (202) 307-6648. Thank you for your
          assistance and cooperation in this matter.
 8
     See Bissell Declaration, Exhibit 2, P. 2 (DJ 00431).
 9
          5. This July 8, 2014 letter also falsely states that attor-
10
     ney Izen received a CD-ROM containing pdf file, Bates IRS0001-
11
     IRS04354.    Bissell's Exhibit 6 is an email from attorney Jennings
12
     to attorney Gilmartin stating:
13
          Matt,
14
          No copy from me to Izen. Two identical copies to you.
15        You can share your information if you chose. [sic]

16        Note: no redactions.

17        Patrick

18        6.     A clear reading of DOJ attorney Jennings letter dated

19   April 29, 2014 attached as Exhibit 3 to the Bissell Declaration

20   proves that the Government's alleged service of the Government's

21   Shearers' discovery documents in April, 2014 was not properly

22   served on Defendant Swenson Trustee and attorney Izen.                  The

23   Government's admission in that letter reads as follows:

24        Dear Mr. Gilmartin:

25             Enclosed please find two identical CD-ROMS con-
          taining pdf files, Bates IRS00001 - IRS04354. We are
26        producing these documents in response to your first
          request for production of documents.
27

28        7.     I state emphatically that I did not receive any CD's of


                                          3
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 1   the    Government's       document   production   for   Defendant    Swenson

 2   Trustee from attorney Gilmartin in April, 2014.

 3          8.    Further, I have no record of having received the Govern-

 4   ment's purported delivery by Federal Express or by regular US

 5   mail of the alleged production the Government claims it made to

 6   Defendant Swenson Trustee on either July 1, 2014 or July 8, 2014.

 7   See Bissell Exhibit 2.

 8          9.    Bissell's Exhibit 5 shows confirmation of Federal Ex-

 9   press deliveries to attorney Gilmartin on April 30, 2014 and to

10   attorney Izen and Gilmartin on September 26, 2014.              There is no

11   Federal Express confirmation of delivery to attorney Izen in

12   July, 2014.

13          10.    I do not contest the Government's claim that 582 pages

14   of    what   may   have   been   purported   supplemental    documents    were

15   delivered to my Bellaire, Texas office where I was receiving

16   official mail and communication at the following address:

17                                Joe Alfred Izen, Jr.
                                   5222 Spruce Street
18                                Bellaire, TX   77401

19   during September, 2014.          I was severely ill during September,

20   2014 and was not personally present at that office             but, instead,

21   was convalescing at home as much as possible.               According to the

22   Government's description of the alleged September, 2014 produc-

23   tion it made to Defendant Swenson, the Federal Express package

24   contained documents marked Bate numbers IRS04410 - IRS04992, a

25   total of 582 pages.

26          11.    Based on the transmittal letter the Government claims

27   it included with the September, 2014 delivery which reads as

28   follows:


                                             4
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 1
          Dear Mr. Izen:
 2
          Enclosed please find a Compact Disk containing PDF
 3        files stamped IRS04410 - IRS04992. These are supple-
          mental responses to your first document request. These
 4        contain the amended tax returns and the Revenue Agent
          Yang workpapers and related documents. Also please find
 5        enclosed the following:

 6        1. UNITED STATES' PRIVILEGE LOG
          2. CERTIFICATE OF SERVICE
 7
     None of the documents the Government's transmittal letter claimed
 8
     were being     produced by that Federal Express delivery were re-
 9
     sponsive to Defendant Swenson's discovery requests for documents
10
     pertaining to the IRS handling and treatment of the trusts' tax
11
     liability.     I make this statement based on the Government's
12
     statement in the September, 2014 transmittal letter quoted above
13
     plus Defendant Swenson Trustee's objections and responses to the
14
     Government's purported responses to Defendant Swenson's First Set
15
     of Written Interrogatories and First Request for Production and
16
     Defendant Swenson's objections to such responses which I have
17
     prepared and attached to this Declaration as Exhibit 1, (Defen-
18
     dant Swenson Trustee's Objections to United States' Response to
19
     Interrogatories - First Set by Stanley Swenson) and Exhibit 2,
20
     (Defendant Swenson Trustee's Objections to United States Response
21
     to Request for Production - First Set by Stanley Swenson as
22
     Trustee).
23
          12. By its own admissions in its purported responses to
24
     Defendant    Swenson's   First   Set   of   Written   Interrogatories   and
25
     First Requests for Production which are included in attached
26
     Exhibits 1 and 2, the Government did not provide the information
27
     which Defendant Swenson Trustee was entitled to receive through
28


                                            5
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 1   the Rule 26 voluntary disclosures the Government now seeks to

 2   avoid.     IRS Agent Cha whom the Government improvidently vested

 3   with the power to withhold such information based on relevancy

 4   grounds, refused to provide required information to Defendant

 5   Swenson and the trusts he represents.        Cha did claim that Certi-

 6   ficates of Assessments and Notices of Liens concerning the trusts

 7   would be provided at some time in the future -- but as explained

 8   in Defendant Swenson Trustee's objections to the Government's

 9   responses set out in Exhibits 1 and 2 after each interrogatory

10   and request and the Government's response thereto -- this never

11   happened.

12        13.    This never happened because the Government never at-

13   tempted to provide Defendant Swenson Trustee or attorney Izen

14   access to the documents allegedly served in response to Defendant

15   Swenson Trustee's discovery requests after September, 2014 until

16   March, 2024.

17        14.    Attorney Bissell's Declaration statement on P. 3 that

18   Defendant Swenson Trustee ignored and was non-responsive to the

19   Government's efforts to provide access to the documents:

20        Diane Shearer responded on March 17, 2024, seemingly to
          express her intent to move forward with sanctions. As
21        of filing, neither Defendant Richard Shearer nor Defen-
          dant Stanley Swenson has responded to the United
22        States' request to meet and confer.

23   is false. Attorney Izen acting on behalf of Defendant Swenson

24   attempted to utilize the link to the "Box" provided by the Gov-

25   ernment in its email dated March 18, 2024 on March 18, 2024.

26   Although digital entry into the Box was accomplished, no link

27   inside the Box was found which could be clicked on and would

28   allow the documents the Government claimed it was producing to be


                                          6
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 1   downloaded by attorney Izen.

 2        15. Upon being unable to download the documents attorney

 3   Izen wrote the Government an email informing the Government that

 4   he had been "boxed out" of the production and needed assistance.

 5   Attorney Bissell and the Government ignored this email and made

 6   no response but, instead, simply filed its Motion to Excuse.

 7   Taking advantage once more of its failure to make or cooperate in

 8   discovery -- a constantly recurring theme in this case based on

 9   its long history of numerous enlargements of time granted to the

10   Government by stipulation previously.       True and correct copies of

11   attorney Stevko's email providing the link to the Box and attor-

12   ney Izen's email requesting further access help from the Govern-

13   ment dated March 18, 2024 are attached hereto, marked Exhibits 3

14   and 4 and are incorporated by reference.

15        16.    I believe that none of the documents the Government

16   claims it produced or attempted to produce previously in response

17   to Defendant Swenson Trustee's document requests and information

18   pertaining to the trusts were ever previously served or delivered

19   by the Government.      I further believe that the documents bate

20   numbers IRS04410 - IRS04992 allegedly produced in September, 2014

21   or at any other time will be responsive to Defendant Swenson

22   Trustee's   requests   for   the   documents   and   information   in   the

23   Government's hands which the Government may use or attempt to use

24   to defeat Defendant Swenson Trustee's affirmative defenses such

25   as administrative estoppel and/or statute of limitations.

26        17.    Defendant Swenson Trustee must await an analysis of the

27   September, 2014 documents and any other documents served by the

28   Government in response to Defendant Swenson Trustee's discovery


                                          7
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 1   requests before he can state under oath that the documents were

 2   wholly or fully non-responsive as to Defendant Swenson Trustee

 3   and   the     trusts.            However,    the       Government's     stated    discovery

 4   responses in the Government's responses to Defendant Swenson's

 5   answers       to    interrogatories          and       requests   for    production     leave

 6   little doubt that no information which complied with FRCP Rule 26

 7   was produced in whole or in part.                       See Exhibits 1 and 2.

 8           18.    When this Court entered an order fixing the amount of

 9   the Shearer personal tax liability through an order granting

10   summary judgment, both the tax issues of liability for the trusts

11   as well as the issues presented by the affirmative defenses

12   asserted by the trusts to fraudulent transfer and theories of

13   entity avoidance were neither moot nor irrelevant.                               Not having

14   received any meaningful discovery from the Government concerning

15   these    issues,          Defendant      Swenson        Trustee   once    more    requested

16   discovery from the Government this time more narrowly tailored to

17   the remaining discoverable issues concerning the trusts' liabili-

18   ty for the Government's fraudulent transfer and entity avoidance

19   claims.       The Government resisted this discovery instead of provi-

20   ding it as this Court is well aware.                       The Government was allowed

21   to take depositions out of time by agreement.                            The trusts still

22   received       no       meaningful    discovery          from   the   Government    on   the

23   remaining issues in this case.                     Now on the cusp of a May 7, 2024

24   trial the Government seeks by its Motion to Excuse avoidance of

25   any meaningful discovery for the trusts at all on any of the

26   remaining issues.

27           19.         I     have    read      the    foregoing      statements       in    this

28   Declaration.             All of the above statements are true and correct


                                                        8
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